              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
               CRIMINAL CASE NO. 1:01-cr-000048-MR-6


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )               ORDER
                                )
KIRK PRYOR,                     )
                                )
                   Defendant.   )
_______________________________ )


     THIS MATTER is before the Court on the Defendant’s “Second and

Successive Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)”

[Doc. 700].

     On November 14, 2001, the Defendant was convicted of conspiracy to

possess with intent to distribute cocaine and cocaine base, in violation of 21

U.S.C. §§ 841(a)(1), 846, and 851, for which he was subject to a statutorily-

required mandatory minimum sentence of life imprisonment. At sentencing

on June 25, 2002, the Court determined that the base offense level was 38,

based on the Defendant being responsible for 4.79 kilograms of cocaine

base. The total offense level was calculated to be 41. Combined with a

Criminal History Category of IV, this produced a Guidelines range of 360



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months to life imprisonment. However, since the Defendant was subject to a

mandatory minimum sentence of life imprisonment, his Guidelines range

became life imprisonment. See U.S.S.G. § 5G1.1. The Court imposed a

sentence of life imprisonment.

        In 2008, Amendment 706 to the Sentencing Guidelines was enacted

to amend U.S.S.G. § 2D1.1 to retroactively reduce the offense levels for

crack cocaine offenses.       On July 27, 2009, the Court denied the Defendant

relief under 18 U.S.C. § 3582(c)(2) and Amendment 706 due to the

mandatory minimum sentence of life imprisonment that was imposed. [Doc.

502].

        On November 4, 2016, the Defendant received an executive grant of

clemency, which resulted in his sentence being commuted to a term of 292

months’ imprisonment.1 [Doc. 696]. The Defendant now moves the Court

for a further reduction of his sentence pursuant to 18 U.S.C. § 3582(c)(2)

and Amendment 706. [Doc. 700].




1 This commutation was made conditional upon the Defendant enrolling in the BOP’s

Residential Drug Abuse Program within fourteen days of receipt of the executive order of
clemency. [See Doc. 696 at 3]. The Defendant’s motion does not indicate whether he
has fulfilled that condition.

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      Pursuant to 18 U.S.C. § 3582(c)(2), the Court may reduce or modify a

sentence only when a defendant is sentenced to a term of imprisonment

based upon a sentencing range that was subsequently lowered by the United

States Sentencing Commission.            See 18 U.S.C. § 3582(c).               These

circumstances are not present in the Defendant’s case. The Defendant’s

sentence was reduced not by a subsequent lowering of his Guidelines range

by the Sentencing Commission but rather by a grant of clemency by the

President of the United States. As such, the Defendant is not entitled to relief

under § 3582(c)(2) and Amendment 706.

      IT IS, THEREFORE, ORDERED that the Defendant’s “Second and

Successive Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)”

[Doc. 700] is DENIED.

      IT IS SO ORDERED.         Signed: March 1, 2017




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